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                                                              October 13, 2015

Via ECF
Honorable Robert D. Drain
United States Bankruptcy Judge
U.S. Bankruptcy Court
Southern District of N.Y.
300 Quarropas Street
White Plains, New York 10601-4140

       Re:    Roy Albers
              Case No. 15-22732 (RDD)

Dear Judge Drain:

       Please accept this letter as a status report in the pending Loss Mitigation pursuant to the
Southern District of New York Loss Mitigation program. Our Office represents Bank of America, N.A.
(the “Secured Creditor”) on the second mortgage with respect to subject property located at 11
Flanders Lane Albers, Cortlandt Manor, NY 10567 and loan account number ending in 4399 (the
“HELOC”).

       On October 8, 2015, Joseph Peloso from Prober & Raphael, ALC, co-counsel to our office,
spoke with Emily Spreuill of the Secured Creditor in regards to the status of the HELOC. Ms. Spreuill
confirmed that the loan was not eligible for a loan modification as this HELOC was charged-off over one
(1) year ago, as per the Secured Creditor’s records. A loan modification could not be completed as the
Secured Creditor is unable to reverse the charge-off of the HELOC in its systems. In addition, the
Secured Creditor is not pursuing any payments on the HELOC, nor is it seeking to enforce the subject
note.

       Debtor’s counsel, Mr. Bronson, was contacted by Sandra Martell of Prober & Raphael, ALC on
October 9, 2015 to explain the issue with the loan and request that the Loss Mitigation Order be
amended to remove the HELOC. Chanel P. Orgil responded and advised that their office has no
problem amending the Loss Mitigation Order to remove the HELOC once the Proof of Claim is
amended or withdrawn.

           Prober & Raphael, ALC contacted the Secured Creditor to request its review, and to determine
if it will amend or withdraw its Proof of Claim. At this time, Prober & Raphael, ALC has not received a
response from the Secured Creditor regarding this issue, but will advise promptly when it does.

        Accordingly, the Secured Creditor respectfully requests that this Court terminate the loss
mitigation proceedings as it relates to the HELOC.
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       Please do not hesitate to have a member of Your Honor’s staff contact me if you have any
questions or require additional information.


                                                                Respectfully,
                                                                s/Mark J. Friedman
                                                                Mark J. Friedman

cc:      H. Bruce Bronson, Jr., Esq. (via e-mail)
         Jeffrey L. Sapir, as Chapter 13 Trustee (via e-mail)
